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AO 245B          (Rev. 09/I L) Judgment in a Criminal Case
vi               Sheet 1


                                              UNITED STATES DISTRICT COURT
                                                             MIDDLE DISTRICT OF ALABAMA

                 UNITED STATES OF AMERICA                                                JUDGMENT IN A CRIMINAL CASE
                                      V.                                         )

                  TIMOTHY LAVETTE SIMMONS                                                Case Number: 3:15cr121-03-WKW

                                                                                         USM Number: 15682-002

                                                                                          Carly B. Wilkins-
                                                                                         Daflindanis Attorney
THE DEFENDANT:
     'pleaded guilty to count(s)           1 of the Indictment on 9/24/2015
El pleaded 11010 contcnderc to count(s)
      which was accepted by the court.

      was lound guilty on count(s)
      alter a plea of not guilLy

                                               these
The defendant is adjudicated guilty of                 offenses:

Title & Section                      Nature of Offense                                                             Offense Ended               Count

     21:846                            Conspiracy to Possess with Intent to Distribute Cocaine                       5119/2014
                                             Hydrochloride




      See additional counr() on pa lae 2


      The defendant is sentenced as provided in pages 2 through 6 of this judgment The sentence is imposed pursuant to the
Sentencing Reform Act of 194.

El The defendant has been found not guilty on count(s)
E Count(s)                                                         71 is   Eate dismissed oil        motion of the United States

         It is ordered that the defendant mist notify the United Stares attorney for this district within 30 days of any change of name, residence,
or mailing address until all Fines, restitution, eosts, and special assessments imposed by this judgment are tully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                                 1/27/2016
                                                                                 Dai of imposition of Judgment




                                                                                 Signature olJudge
                                                                                                          4fe
                                                                                 W. KEITH WATKINS, CHIEF U.S. DISTRICT JUDGE
                                                                                 Naive of .Iudge                              Title of Judge



                                                                                 Dat
                   Case 3:15-cr-00121-WKW-TFM Document 81 Filed 01/29/16 Page 2 of 6

AO 24513        (Rev. 09/I1) Judgment in a Criminal Case
V1              Sheet 2— Imprisonment

                                                                                                                     Judgment Page: 2 of 6
     DEFENDANT: TIMOTHY LAVETTE SIMMONS
     CASE NUMBER: 3:15cr121-03-WKW


                                                                 IMPRISONMENT

              The defendant is hereby committed to the custody of the United States bureau of Prisons to be imprisoned for a
     total term of:
     188 months.




             The court makes the following recommendations to the Bureau of Prisons:

     The Court recommends that defendant be designated to a facility where intensive residential drug treatment is available and
     where mental health assessment and treatment is available.



             The defendant is remanded to the custody of the United States Marshal.

         E The defendant shall surrender to the United States Marsha[ for this district:
             E at _______                    ________      am.      E p.m.       on

             El as notiled by the United States Marshal.

         E The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

             E before                   on

             El as notified by the United States Marshal.

             El as notified by the Probation or Pretrial Services Office.



                                                                       RETURN
     I have executed this judgment as follows:




             Defendant delivered on                                                           to

     a                                                     with a certified copy of this judgment.



                                                                                                        UNITED STATES MARSHAL



                                                                               By
                                                                                                     DEPUTY UNITED STATES MARSHAL
                      Case 3:15-cr-00121-WKW-TFM Document 81 Filed 01/29/16 Page 3 of 6

 AO 24B            (Rev. 09/I1) Judgment in a Criminal Case
 vi                Sheet 3—Supervised Release


  DEFENDANT: TIMOTHY LAVETTE SIMMONS                                                                                          Judgment Page: 3 of 6
  CASE NUMBER: 3:15cr121-03-WKW
                                                              SUPERVISED RELEASE
  Upon release from imprisonment, the defendant shall be on supervised release for a term of
  4 years.


           The defendant. must report to the probation office in the district to which the defendant is released within 72 hours of release from the
  custody of the Bureau of Prisons.
  The defendant shall not commit another federal, state or local crime.
  The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
  substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
  thereafter, as determined by the court.
            The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
            future substance abuse. (Check, if applicable.)

            The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
            The defendant shall cooperate in the collection of DNA as directed by the probation officer. ('Check, ifapplicabie)

            The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, elseq.)
            as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides.
            works, is a student, or was convicted of a qualif\lng offense. (Check, fappficable.)

  U The defendant shall participate in an approved program for domestic violence. ('Check. if applicable.)
          If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pa' in accordance with the
  Schedule of Payments sheet of this judgment.
            The defendant must comply with the standard conditions that haie been adopted by this court as well as with any additional conditions
  on the attached page.

                                               STANDARD CONDITIONS OF SUPERVISION
I)            the defendant shall not leave the judicial district without the permission of the court or probation officer;
       2)     the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
       3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
      4)     the defendant shall support his or her dependents and meet other family responsibilities;
       5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
             acceptable reasons;
       6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
       7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
             controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
       8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
      9)     the defendant shall not associate with any persons engacd in criminal activity and shall not associate with any person convicted of a
             felony, unless granted permission to do so by the probation officer;
      10)    the defendant shall permit a probation officer to visit himor her at any time at home or elsewhere and shall permit confiscation of any
             contraband observed in plain view of the probation officer;
      11)    the defendant shall notif5i the probation officer within severity-two hours of being arrested or questioned by a law enforcermnt officer;
      12)    the defendant shall not enter into any' agreement to act as an informer or a special agent of a law enforcemot agency without the
             permission of the court; and

      13)    as directed by the probation officer, the defendant shall no(it' third parties of risks that may be occasioned b y the defendant's criminal
             record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
             defendant s compliance with such notification requirement.
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AO 24513       (Rev. 091I I) Judgment in a Criminal Case
vi             Sheet 3C - Supervised Release


 DEFENDANT: TIMOTHY LAVETTE SIMMONS                                                                         Judgment Page: 4 of 6

 CASE NUMBER: 3:15cr121-03-WKW


                                              SPECIAL CONDITIONS OF SUPERVISION

     Defendant shall participate in a program approved by the United States Probation Office for substance abuse as directed,
     which will include testing to determine whether he has reverted to the use of drugs. Defendant shall contribute to the cost
     of any treatment based on ability to pay and the availability of third-party payments.

     Defendant shall submit to a search of his person, residence, office or vehicle pursuant to the search policy of this court.
                    Case 3:15-cr-00121-WKW-TFM Document 81 Filed 01/29/16 Page 5 of 6

AO 245B          (Rev, 09/1) Judgment in a Criminal Case
vi               Shed 5    Criminal Monetary Penalties

                                                                                                                             Judgment Page: 5 of 6
     DEFENDANT: TIMOTHY LAVETTE SIMMONS
     CASE NUMBER: 3:15cr121-03-WKW
                                                   CRIMINAL MONETARY PENALTIES
         The defendant must pay the total criminal monetary penalties under the schcdule of payments on Sheet 6.

                         Assessment                                            Fine                                Restitution
 TOTALS                S 10000                                             $                                     $ $0.00


         The determination of restitution is deferred until -                  -An Amended Judgment in a Criminal Case (AO 245C) will be entered
         after such determination.

     El The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

         If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
         the priorityrder
                       o or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
         before the United States is paid.

 Name of Payee                                                         Total Loss*                     Restitution Ordered Priority or Percentage




 TOTALS                                                                                        $0.00                 $0.00



 E        Restitution amount ordered pursuant to plea agreement $

         The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
         fifteenth day after the date of the judgment. pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
         to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 E       The Court determined that the defendant does not have the ability to pay interest and it is ordered that:

          E the interest requirement is waived for the            E fine              restitution.

          E the interest requirement for the             E fine    71 restitution is modified as follows:



 * Findings for the total armunt of losses are required under Cha1ers 109A, 110, 1 bA, and 113A ofTitle IS foroffenses committed on or after
 September 13, 1994, but before April 23, 1996.
                Case 3:15-cr-00121-WKW-TFM Document 81 Filed 01/29/16 Page 6 of 6

AU 2450       (Rev. 09!1 I) Judgment in a Criminal Case
vi            Sheet 6— Schedule of Payments

                               Judgment Page: 6 of 6
 DEFENDANT: TIMOTHY LAVETTE SIMMONS
 CASE NUMBER: 3:15cr121-03-WKW


                                                          SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A         Lump sum payment of$ 100.00                          due immediately, balance due

                  not later than                                    , or
                  in accordance                 C,         D,              or           F below; or

 B    F Payment to begin immediately (may he combined with                      El C.           D, or     F below); or

 C         Payment in equal             --       (e.g., weekl y , monthly, quarterly) installments of $                             over a period of
                        (e.g.. months or wary), to commence                          (e.g., 30 or 60 days) after the date of this judgment; or

 D    F1 Payment in equal______                  (e.g., weekly. monthly. quarterly) installments of $                        _    over a period of
                       (e.g.. months or years). to commence                        (e.g., 30 or 60 dri yy) after release from imprisonment to a
         term of supervision; or

 E         Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F          Special instructions regarding the payment of criminal monetary penalties:
            All criminal monetary payments are to be made to the Clerk, United States District Court, Middle District of Alabama, Post Office Box 711,
            Montgomery, Alabama 36 10 1.




 Unless the court hasexpressl y ordered otherwise, ii this judgment imposes imprisonment, payment of crininal monetary penalties is due during
 imprisonment. All crimnal nconetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
 Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




 D Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




 E The defendant shall pay the cost of prosecution.

 E The defendant shall pay the following court cost(s):

 El   The defendant shall forfeit the defendant's interest in the following property to the United States:




 Payments shall be applied in the following order: (I) assessment, (2) restitution principal, (3) restitution interest. (4) line principal,
 (5) line interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
